CaSe 2:05-cr-20079-.]PI\/| Document 23 Filed 08/29/05 Page 1 of 3 Page|D 35

IN THE U'NITED S'I`ATES DISTRICT COURT amey_
FOR THE WESTERN DISTRICT OP TENNESSEE ""“'°_M

wESTERN DIVISION GSAUB 9 AH 6'!¢3

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CLERK U.S. DLSTH.
U`NITED STATES OE` AMERICA W/DOFTN' MW

Plaintiff,

Criminal No.D__{_- ZMZE Ml
ph /L’ SA¢¢VL.€ j;&n$“'t

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the Septemher
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

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\.Mith Ru|s I,-= and/ur 32(!3) FRC¥P On ' ;2

CaSe 2:05-cr-20079-.]PI\/| Document 23 Filed 08/29/05 Page 2 of 3 Page|D 36

SO ORDERED this 26th day of August, 2005.

WMQQ

 

PHIPPS MCCALLA
TED S'I`ATES DISTRIC'I' JUDGE

734 07‘»/ `D (ff<’f>/
/>’?:/

Assistant United States Attorney

 

 

 

 

Counsel for Defendant(s)

 

E"RDISTICT COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20079 Was distributed by faX, mail, or direct printing on

August 30, 2005 to the parties listed.

 

Michael EdWin Scholl

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

